     Case 1:07-cv-01080-LJO-GSA Document 356 Filed 04/06/10 Page 1 of 2


 1
 2
 3
 4
 5
 6
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   ROGER McINTOSH,                                        CASE NO. CV F 07-1080 LJO GSA
12                          Plaintiff,                      ORDER ON DEFENDANT CITY OF
                                                            WASCO’S EX PARTE APPLICATIONS AND
13          vs.                                             DEFENSE MOTION TO STAY
                                                            ENFORCEMENT OF JUDGMENT
14   NORTHERN CALIFORNIA                                    (Docs. 343, 350, 355.)
     UNIVERSAL ENTERPRISES,
15   INC., et al,
16                          Defendants.
                                                 /
17
18          Defendant City of Wasco seeks on shortened time an extension to file post-trial motions and to
19   stay enforcement of judgment against it pending this Court’s ruling on post-trial motions. Defendants
20   Northern California Universal Enterprises Company and Lotus Developments, L.P. also seek to stay
21   enforcement of judgment against them pending this Court’s ruling on post-trial motions. This Court is
22   troubled by defendants and this Court’s need to address such matters given that such requested relief is
23   routine and would have been granted if requested orally after the verdict. As such, this Court:
24          1.      SETS May 20, 2010 as the deadline to file post-trial motions and supporting papers;
25          2.      ORDERS the parties to comply with Local Rule 230 on filing opposition and reply
26                  papers and setting a hearing;
27          3.      ADMONISHES counsel to comply with this Court’s March 26, 2010 order regarding
28                  post-trial motions; and

                                                        1
     Case 1:07-cv-01080-LJO-GSA Document 356 Filed 04/06/10 Page 2 of 2


 1         4.      STAYS enforcement of the judgment pending post-trial motions and this Court’s further
 2                 orders.
 3         IT IS SO ORDERED.
 4   Dated:     April 6, 2010                      /s/ Lawrence J. O'Neill
     66h44d                                    UNITED STATES DISTRICT JUDGE
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                     2
